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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



BLACK LIVES MATTER D.C. et al.,
               Plaintiffs,
        v.                                                No. 20-cv-1469 (DLF)

DONALD J. TRUMP et al.,
                Defendants.


                               PARTIAL FINAL JUDGMENT

        For the reasons stated in the Memorandum Opinion, Dkt. 160, and the Order, Dkt.

 185, and in accordance with the Order, Dkt. 159, it is hereby

       ORDERED that FINAL JUDGMENT of dismissal is ENTERED in favor of

 defendants William P. Barr, Mark Adamchick, Jonathan Daniels, Sean Cox, Luis Feliciano,

 Jeffrey Hendrickson, Nicholas Jarmuzewski, Bryan McDonald, Cara Seiberling, Lawrence

 Sinacore, Thomas LoCasico, and Sean Kellenberger against the plaintiffs as to Counts 1 and

 2 of the plaintiffs’ Third Amended Complaint, Dkt. 52.

       SO ORDERED.




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                                                            DABNEY L. FRIEDRICH
May 16, 2021                                                United States District Judge
